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is 44 <Rev_ 06/17)

CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein_neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of_court. This fonn, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE [NSTRUCTI()NS ()N NEXTPAGE OF THIS F()RM.)

 

i. (a) PLAiNTlFFs

ROB|N BAPT|STE and DEXTER BAPTISTE, on behalf of themselves
and all others similarly situated

(b) Coumy of Resi<ience of rim Lisred plaintiff
(EXCEPTIN U,S. PLAINTIFF CASES)

(C) Al[Om€yS (Firm Name. Address. and Telephon€ Number)

KEV|N S. R|ECHELSON, ESQ., KA|\/|ENSKY, COHEN & RlECHELSON

194 South Broad St,, Trenton, NJ 08608

DEFENDANTS

NOTE:

Attorneys (lfKnown/

 

Courity of Residence of First Listed Defendant

BETHLEHEl\/l LANDFlLL COMPANY d/b/a IESl PA BETHLEHEl\/l
LANDF|LL, a Delaware Corporation

Northhampton

(IN U.S. PLAINTIFF CA.S'ES ()NLY)

IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

 

Il. BASIS OF JURISDICTIGN (Pla€e a)i “X" in One Box O/lly)

 

(For Diversi`ty Cases O/i/y)

III. CITIZENSHIP OF PRINCIPAL PARTIES (Place cm l‘X" in 011¢' Bo.r_fo)' Plai)izi‘ff

and One Box_ for Defelzdant)

 

 

 

 

 

 

 

 

 

 

 

 

Cl l U.S. Govemmcm \:l 3 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Governmelzt Not a Party) Citizen ofThis State m 1 ix 1 Incorporated or Principal Place 1:| 4 13 4
of Business ln This State
Cl 2 U.S. Govemment g 4 Diversity Citizen ot`Another State Cl 2 C| 2 Incorporated and Principal Place Cl 5 ix 5
Defendant (Indi€ate Cizizenship quurties in Item II[) of Business In Another State
Citizen or Subject ofa E| 3 \‘_`l 3 Foreign Nation CI 6 Cl 6
Forei_gn Counti'y
IV. NATURE OF SUIT (Place an "X” in One Box O)zly) Click here for; Nature of Suit Code Descriptions.
l CoNTRACT ToR'rs Foiuiui ui<E/PENALTY BANKRUPTCY m_l
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Cl 120 Marine Cl 310 Airplane l:l 365 Personal lnjury - of Propcrty 21 USC 881 C] 423 Withdrawal § 376 Qui Tam (31 USC
Cl 130 Miller Act Cl 315 Airplane Product Producl Liability Cl 690 Other 28 USC 157 3729(21))
Fl 140 Negotiable Insti'ument Liability U 367 l-lealth Cai'e/ Cl 400 State Reapportionment
D 150 Recovcry ovaerpayment ij 320 Assault, I_ibcl & Pliarmaceutical PROPERTY RIGHTS 13 410 Antitrust
& Enforcement ot` Judgmcnt Slander Personal lnjury |J 820 Copyrights CI 430 Banks and Banking
Fl 151 Medicare Act Cl 330 Federal Employers' Pi’oduct Liability 0 830 Patent Fl 450 Commerce
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CI 190 Other Contract Pi'oduct Liabilily Cl 380 Other Personal |:l 720 Labor/Management [l 863 DlWC/DIWW (405(g)) Exchaiige
l'l 195 Contract Product Liability n 360 Other Personal Pi'opeity Damage Relations 11 864 SSID Title XVI Fl 890 Other Statutory Actions
Cl 196 Francliise Injury |:l 385 Property Damage Cl 740 Railway Labor Act Cl 865 RSI (405(g)) 13 891 Agricultural Acts
Cl 362 Personal lnjuiy - Product Liability l"_`l 751 Faniily and Mcdical C] 893 Environmental Mattcrs
Mcdical Malpractice Lcave Act Cl 895 Frccdom of lnfomiation
I REAL PROPERTY CIVIL RIGHTS PRISONER rhlllIONS ij 790 Other Labor litigation FEDERAL TAX SUITS Act
l,'l 210 Land Condemnatiori C] 440 Other Civil Rights Hal)eas Corpus: Cl 791 Employee Retirement C] 870 Taxes (U.S. Plaintiff Cl 896 Arbitration
El 220 Foreclosure fl 441 Voting Cl 463 Alien Detainee lnconie Security Act or Defendant) ij 899 Administrative Procedure
Cl 230 Rent Lease & Ejectment Cl 442 Ernploymem 111 510 Motions 10 Vacate \:l 871 IRS_Third Party Act/Review or Appeal of
U 240 Torts to Land Cl 443 Housing/ Sentence 26 USC 7609 Agency Decision
[j 245 Tort Product Liability Accommodations ij 530 Gencral Cl 950 Constitutionality of
|:1 290 A11 Other Real Pi'operty ij 445 Amei'. w/Disabilities - lIl 535 Death Penalty IMMIGRATION State Statutcs
Employment Other: \J 462 Naturalization Application
Cl 446 Amei'. w/Disabilitics - C| 540 lvlandamus & Other Cl 465 Other Immigralion
Other Cl 550 Civil Rights Actions
Cl 448 Education El 555 Prison Condition
Cl 560 Civil Detainee -
Conditions of
Confinement

 

 

 

 

 

 

V. ORIGIN (Place an “X" ill Oize Ba.~c ()nly)

al Original ij 2 Removed from
Proceeding State Court

El 3 Remanded from El 4

Appellate Court

Reinstated or Cl 5 Transferred from Cl 6 l\/lultidistrict Cl 8 Multidistrict
ReOPe“ed Another District Litigalion - L_itigation -
(specifv) Transfer Direct File

 

Cite thc U.S. Civil Statute under which you are filing (Da nut cite jurisdictional smrures unless diversity):

 

VI. CAUSE OF ACTION

Brief description of cause;

 

 

 

 

 

VII. REQUESTED IN 13 CHECK IF THlS IS A CLASS ACTION DEMAND $ CHECK YES only ifdemanded in complaint
COMPLAINT: UNDER RULE 23~ F.R-Cv-P- 5,000,000.00 JURY DEMAND: 121 Yes DNO
VIII. RELATED CASE(S) y y
IF ANY (Seemslructio/ls). JUDGE DOCKET NUMBER
l`)A'I`E SIGN T RE OF ATTK{NE F RECORD
06/22/2018 , 1 VL/__./-
FOR OFFICE USE ONLY /
RE(,`EIP'[` # AMOUN'I` APPLYING ll"P JUDGE MAG. JUDGE

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IN THE UNITED STATES DISTRICT C()URT
FOR THE EASTERN DISTRICT ()F PENNSYLVANIA

WCASE MANAGEMENT TRACK DESIGNATION FORM

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131/gmi M/ g/%/CM/MJ CIVIL ACTION

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In accordance with the Civil Justice £Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Managernent Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendants (See § 1;03 of the plan set forth on the reverse
side of this form.) ln the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, With its first appearance, submit to the clerk of court and serve on
the plaintiff and all other parties, a Case Managernent Track Designation Form specifying the track
to which that defendant believes the case should be assigned

SELECT ()NE OF THE FOLLOWING CASE MANAGEMENT TRACKS:
(a) Habeas Corpus - Cases brought under 28 U.S.C. § 2241 through § 2255. ( )

(b) Social Security - Cases requesting review of a decision of the Secretary of Health
and Human Services denying plaintiff Social Security Benefits ( )

(c) Arbitration - Cases required to be designated for arbitration under Local Civil Rule 53.2. ( )

(d) Asbestos - Cases involving claims for personal injury or property damage from
exposure to asbestos ( )

(e) Special Management - Cases that do not fall into tracks (a) through (d) that are
commonly referred to as complex and that need special or intense management by
the court. (See reverse side of this form for a detailed explanation of special
management cases.) ( )

(f) Standard Management _ Cases that do not fall into any one of the other tracks `(>{

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Date Attorney-at-law Attorney for }Q/Q,Ul‘i‘l ffq)
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Case 5:18-cv-02691-%§1§]§1)[§9§1[1£§%%€|§11%%1@`6/26/18 Page 3 of 16

FOR THE EASTERN DISTRICT OF PENNSYLVANIA

DESIGNATION FORM
(to be used by counsel or pro se plaintiff to indicate the category of the casefo)' the purpose ofassignment to the appropriate calendar)

Addressofplaimiff; 397 South Oak Street, Freemansburg, Pennsylvania

 

AddreSSOfDefendam; 2335 Applebutter Road, Bethlehem, Northhampton Co, Pennsylvania

 

Place OfAccidem, Incidem Or Tl_ansaction: Lower Saucon Twp, btwn Riverside Drive and Applebutter Rd

 

 

RELA TED CASE, IF ANY:
Case Number: Judge: Date Terminated:

Civil cases are deemed related when Yes is answered to any of the following questions:

l. ls this case related to property included in an earlier numbered suit pending or within one year Yes m No
previously terminated action in this court?

2. Does this case involve the same issue of fact or grow out of the same transaction as a prior suit Yes m No
pending or within one year previously terminated action in this court?

3. Does this case involve the validity or infringement of a patent already in suit or any earlier Yes |:| No
numbered case pending or within one year previously terminated action of this court?

4. ls this case a second or successive habeas corpus, social security appeal, or pro se civil rights Yes |:| No
case filed by the same individual?

I certify that, to my knowledge. the within case i:l is / E] is not related to any case now pending or within one year previously terminated action in
this court except as noted above.

DATE: 06/22/2018 }j¢w\ f MNL 53960

Attorney-at-Law / P)'o Se P/ainti}_‘}" Attorney I.D. # (i'fapplicab/e)

 

 

CIVIL: (Place a \/ in one category only)
Fedel'al Question Cases: Diversity Jurl'sdiction Cases:

lndemnity Contract, Marine Contract, and A11 Other Contracts lnsurance Contract and Other Contracts

FELA Airplane Personal lnjury

Jones Act~Personal lnjury Assault, Defamation

Antitrust Marine Personal lnjury

Patent Motor Vehicle Personal lnjury . .
Labor-Management Relations Other Personal lnjury (Please speci'jfv).~ Landml Comammatlon
Civil Rights Products Liability

Habeas Corpus Products Liability - Asbestos
Securities Act(s) Cases A11 other Diversity Cases
Social Security Review Cases (Please specif_ji).~

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A11 other Federal Question Cases
(Please specifv):

 

 

 

 

ARBITRATION CERTIFICAT[ON
(The effect of this certification is to remove the case from eligibility for arbitration.)

l, Kev|n S ' Rlechelson’ ESq ' , counsel ofrecord or pro se plaintiff, do hereby certify:

 

- Pursuant to Local Civil Rule 53.2, § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
exceed the sum of $150,000.00 exclusive of interest and costs:

|:| Relief other than monetary damages is sought.

DATE: 06/22/2018 %M f w 58960

Attomey~at-Law / Pro Se Plainti'/j“ Attomey I.D. # (if`applicable)

NOTE: A trial de novo will be a trial byjury only ifthcrc has been compliance with F.R.C.P. 38.

 

Ci\'. 609 (5/2018)

 

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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

ROBIN BAPTISTE and DEXTER )
BAPTISTE, on behalf of themselves and all )
others similarly situated, )
)

Plaintiffs, ) Case No.
)
vs. )
)
BETHLEH_EM LANDFILL COMPANY d/b/a )
IESI PA BETHLEHEM LANDFILL, a )
Delaware Corporation, )
)
Defendant. )
)
)

CLASS ACTION COMPLAINT AND JURY DEMAND
INTRODUCTION
l. Plaintiffs bring this class action against Bethlehem Landfill Company d/b/a lESl

PA Bethlehem Landfill. Defendant owns and operates the landfill known as Bethlehem Landfill,
which releases pollutants, air contaminants, and noxious odors, causing material injury to
Plaintiffs’ property through public nuisance, private nuisance, and negligence

PARTIES

2. Plaintiffs, Robin Baptiste and Dexter Baptiste reside at 397 South Oak Street,
Freemansburg, Pennsylvania.

3. At all relevant times hereto, Defendant, Bethlehem Landfill Company, has been a
Delaware business corporation headquartered in the State of Texas. Defendant, its predecessors
agents, and parents, constructed, operate, and/or maintain Bethlehem Landfill, located at 2335
Applebutter Road, Bethlehem, Northampton County, Pennsylvania.

4. ' At all relevant times herein, Defendant, its agents and its predecessors did and do

business in Bethlehem, Pennsylvania. There existed and exists a unity of interest and ownership

l

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between each of them, such that any individuality and separateness between them has ceased,
and each such entity is the alter ego of each other entity.
JURISDICTION AND VENUE

5. This Court has jurisdiction under 28 U.S.C. §l332(d)(2)(a). Jurisdiction is proper
because the amount in controversy exceeds $5,000,000, exclusive of interest and costs Venue is
proper in this Court under 28 U.S.C. l39l(b)(2), because a substantial portion of the events or
omissions giving rise to Plaintiffs’ claims took place in this District, and because much of the
property that is the subject of this action is situated in this District.

GENERAL ALLEGATIONS

6. Defendant’s landfill (“Bethlehem Landfill”) is a 224 acre waste disposal facility
in the Lower Saucon Township, situated between Riverside Drive and Applebutter Road, less
than a mile south of the Lehigh River and northwest of lnterstate 78, that abuts Steel City
residential and recreational area on the northern property line.

7. ~ Bethlehem Landfill can currently accept up to 1,375 tons of waste on a daily
basis

8. Landfills like Defendant’s, inherently generate odors when waste in the landfill
decomposes creating odorous landfill gas leachate and other byproducts.

9. Defendant, like similar operators has the legal duty and responsibility to control
the landfill’s odorous emissions by capturing and destroying them to prevent them from traveling
offsite and impacting the landfill’s neighbors

10. Defendant is required to control its odorous emissions by, among other things
following proper landfilling practices utilizing adequate landfill cover, and installing, operating,
and maintaining a sufficient landfill gas collection system to capture and destroy landfill gas

ll. A properly operated landfill will not cause offensive offsite odor impacts

12. On recurrent and intermittent occasions Plaintiffs’ property including Plaintiffs’
neighborhoods, residences and yards have been and continue to be physically invaded by
noxious odors pollutants and air contaminants that originate from Bethlehem Landfill.

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13. Defendant’s landfill, and especially its odorous emissions has been the subject of
frequent complaints from residents in nearby residential areas

14. For years the Township of Lower Saucon, by and through its representatives such
as Councilwoman Donna Louder, has repeatedly notified Defendant of residents’ discomfort
from the stench the landfill continuously emits

15. Area residents have made countless complaints to the Pennsylvania Department
of Environmental Protection (“DEP”) regarding odors from Defendant’s facility.

16. Despite the large number of complaints Defendant’s Bethlehem landfill has a
well documented history of repeated failures in the proper maintenance and management of the
landfill, and the effective control of odor emanating from the landfill such that odors do not
constitute a nuisance or hazard to health, safety, or property. lllustrations of such failures
include, but are not limited to, the following:

a. On April 16, 2012, Water & Sewer Resources Director for the Township of
Saucon issued an Order of Compliance to Defendant Bethlehem Landfill in an
enforcement action, and assessed $45,243.51 in fines

b. On April 10, 2014, the DEP found Bethlehem Landfill in violation for not
complying with permit conditions by not placing an intermediate cover atop the
trash piles at the end of each day.

c. v On August 27, 2014, the DEP found Bethlehem Landfill in violation because the
intermediate cover did not prevent vectors odors blowing litter, and other
nuisances

d. On May 12, 2015, the DEP issued Bethlehem Landfill a NOV after the inspector
detected strong landfill odors near the landfill’s slope, gas wells and leachate
cleanout due to resultant Defendant’s failure to maintain intermediate cover to
prevent odors and cover solid waste after its placement on the slope. The DEP
also noted Defendant’s failure to implement a gas control and monitoring plan to
effectively monitor gas collection for nuisance potential

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l7.

On June 24, 2015, the DEP found Defendant’s intermediate cover still did not
prevent vectors odors blowing litter, and other nuisances and their gas Venting
and monitoring was still inadequate

On l\/lay 7, 2018, the DEP determined Bethlehem Landfill not in compliance of
Pennsylvania’s Solid Waste Management Act and Municipal Waste Management
Rules for various violations including its failure to perform waste management
practice in reducing the potential for offsite odor creation, failure to promptly
address and correct problems in deficiencies discovered during the course of
DEP’s inspection, failure to implement the Nuisance Minimization and Control
Plan to minimize and control conditions that are harmful to the environment or
public health, or which create safety hazards odors dust, noise, unsightliness and
other public nuisances failure to maintain a uniform intermediate cover that
prevents odors and litter, and failure to implement the approved gas control and
monitoring plan.

Still, Defendant has failed to install and maintain adequate technology to properly

control the landfill’s emissions which in the absence of adequate mitigation, are transported onto

Plaintiffs’ property. Such failures include, but are not limited to: the landfill’s daily,

intermediate, and long-term cover and gas collection system; an inadequate and/or improper odor

management plan; inadequate treatment of leachate prior to discharge; improper use of vents

and/or flares; the failure to prevent landfill gas collection wells from becoming “watered in,”

including by utilizing adequate drainage systems inadequate and/or improper cover and

covering practices and inadequate use of odor neutralizing systems and products

18.~

As a direct and foreseeable result of Defendant’s failure to control the landfill’s

odorous emissions those odorous emissions are routinely emitted and transported onto the

property of Plaintiffs on occasions too numerous to recount individually.

19.

Approximately eighty-five (85) households have already contacted Plaintiffs’

counsel documenting the odors they attribute to Defendant’s landfill.

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20., Resident complainants describe the sickening odors as obnoxious foul, and
nauseating.
21. Class Members note, among other things their inability to utilize the outside areas

of their property, to include swimming pools and porches; the inability of their children to play
in their yards their inability to host guests to their homes due to embarrassment; and even their
inability to'walk their dogs.

22. At times the stench becomes so pungent it permeates the walls of Class Members
homes requires them to keep all windows and doors sealed shut, and virtually renders them
entrapped in their own homes.

23._ Defendant’s malodorous emissions an issue clearly characterized as gross and
pervasive, have substantially impacted the Class Members’ ability to use and enjoy their homes
and have reduced the value of the homes of Plaintiffs and the Class.

24. The invasion of Plaintiffs' property by pollutants noxious odors and air
contaminants has caused Plaintiffs to suffer injuries including the loss of use and enjoyment of
their property.

25. These atrocious odors are offensive, would be offensive to a reasonable person,
and have caused property damage, including lost property value.

26. The invasion of Plaintiffs’ property by pollutants noxious odors and air
contaminants has interfered with Plaintiffs’ use and enjoyment of their property, resulting in
damages in excess of $5,000,000.

27. Defendant intentionally, recklessly, willfully, wantonly, maliciously, grossly and
negligently failed to construct, maintain and/or operate the landfill, and caused the invasion of
Plaintiffs’ property by noxious odors air contaminants and other airborne pollutants on
intermittent and reoccurring dates.

28. Defendant’s emissions are especially injurious to the Class as compared with the

public at large, given the impacts to their homes.

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29.. Defendant is vicariously liable for all damages suffered by Plaintiffs caused by
Defendant’s employees representatives and agents who, during the course and scope of their
employment, allowed or failed to correct the problem(s) which caused noxious odors and air
contaminants to physically invade Plaintiffs’ property.

CLASS ALLEGATIONS

 

A. Definition of the Class

35. Plaintiffs bring this action individually and on behalf of all persons as the Court
may determine to be appropriate for class certification, pursuant to Federal Rule of Civil
Procedure 23. Plaintiffs seek to represent a Class of persons preliminarily defined as:

All'owner/occupants and renters of residential property Within a 2.5 mile

radius of the Bethlehem Landfill Company Facility.
Excluded from the Class are Defendant and its affiliates predecessors successors officers
directors agents servants or employees and the immediate family members of such persons.
Plaintiffs reserve the right to modify the class definition and/or propose one or more subclasses if
discovery reveals such modifications are appropriate
B. Numerosity

36. Upon information and belief, there are in excess of 8,400 households within a 2.5
mile radius of the landfill. Accordingly, the members of the Class are so numerous that joinder of
all parties is impracticable
C. Commonality

37. Numerous common questions of law and fact predominate over any individual
questions affecting Class members including, but not limited to the following:

a. whether and how Defendant intentionally, recklessly, willfully, wantonly,
maliciously, grossly and/or negligently failed to construct, maintain and/or
operate the landfill;

b. whether Defendant owed any duties to Plaintiffs

c. which duties Defendant owed to Plaintiffs;

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d. the way in which the landfill’s odors were dispersed over the class area;

e. whether it was reasonably foreseeable that Defendant’s failure to properly
construct, maintain and/or operate the landfill would result in an invasion of
Plaintiffs’ possessory interests

f. whether the degree of harm suffered by Plaintiffs and the class constitutes a
substantial annoyance or interference; and

g. the proper measure of damages incurred by Plaintiffs and the Class.

D. Typicality

38. Plaintiffs have the same interests in this matter as all the other members of the
Class and their claims are typical of all members of the Class. If brought and prosecuted
individually, the claims of each Class member would require proof of many of the same material
and substantive facts rely upon the same legal theories and seek the same type of relief.

39. The claims of Plaintiffs and the other Class members have a common origin and
share a common basis. The claims originate from the same failure of the Defendant to properly
construct, maintain and/or operate the landfill.

40. All Class members have suffered injury in fact resulting in the loss of property
value by reason of Defendant’s failure to properly construct, maintain and/or operate the landfill.
E. Adequacy of Representation

41. Plaintiffs’ claims are sufficiently aligned with the interests of the absent members
of the Class to ensure that the Class claims will be prosecuted with diligence and care by
Plaintiffs as representatives of the Class. Plaintiffs will fairly and adequately represent the
interests of the Class and do not have interests adverse to the Class.

42. Plaintiffs have retained the services of counsel, who are experienced in complex
class action litigation, and in particular class actions involving odors including those from
landfills. Plaintiffs’ counsel will adequately prosecute this action and will otherwise protect and
fairly and adequately represent Plaintiffs and all absent Class members
F. Class Treatment Is the Superior Method of Adjudication

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43. A class action is superior to other methods for the fair and efficient adjudication
of the controversies raised in this Complaint because:

-a. lndividual claims by the Class members would be impracticable as the costs of
pursuit would far exceed what any one Class member has at stake;

b. Little or no individu al litigation has been commenced over the controversies
alleged in this Complaint and individual Class members are unlikely to have an
interest in separately prosecuting and controlling individual actions;

c. The concentration of litigation of these claims in one forum will achieve
efficiency and promote judicial economy; and

d. The proposed class action is manageable.

CAUSE OF ACTION I
PUBLIC NUISANCE
44. Plaintiffs restate all allegations of this Complaint as if full rewritten herein.
45 . The noxious odors pollutants and air contaminants which entered Plaintiffs'

property originated from the landfill constructed, maintained and/or operated by Defendant.

46.' The odors pollutants and air contaminants invading Plaintiffs’ property are
indecent and/or offensive to the senses and obstruct the free use of their property so as to
significantly and unreasonably interfere with the comfortable enjoyment of life and/or property,
including in but not limited to the following ways:

a. causing Plaintiffs to remain inside their homes and forego use of their yards;

b. l causing Plaintiffs to keep doors and windows closed when weather conditions

otherwise would not so require; and

c. causing Plaintiffs embarrassment and reluctance to invite guests to their homes.

47. Defendant, by failing to reasonably repair and/or maintain its landfill so to abate
nuisances such as malodorous emissions has acted, and continues to act, in conscious disregard
to public health, safety, peace, comfort, and/or convenience

48. Defendant’s emission of odors pollutants and air contaminates is proscribed by

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municipal and Pennsylvania state law.

49. The odors pollutants and air contaminates produced by Defendant’s landfill are
continuous in nature and have a permanent and long-lasting effect.

50. Defendant is aware of the odors pollutants and air contaminates that emanate

from its landfill, and has knowledge of the significant impact the odors have on residents’ lives.

 

CAUSE OF ACTION II
PRIVATE NUISANCE
51. Plaintiffs restate all allegations of this Complaint as if fully rewritten herein.
52. Defendant owed, and continues to owe, a duty to Plaintiffs to take positive action

to prevent and/or abate the interference with the the invasion of the private interests of the
Plaintiffs

53.' By constructing and then failing to reasonably repair and/or maintain its landfill,
Defendant has negligently created an unreasonable risk of foreseeable harm by causing the
invasion of Plaintiffs’ property by noxious odors pollutants and air contaminants

54. As a foreseeable, direct and proximate result of the foregoing conduct of
Defendant,_Plaintiffs suffered injuries and damages to their property as alleged herein.

55. The injuries and damages suffered by Plaintiffs are specially injurious to
themselves because they uniquely suffer harm relating to the use and enjoyment of their land and
property, and decreased property values which are not harms suffered by the general public.

56. Plaintiffs did not consent for noxious odors pollutants and air contaminants to
enter and settle upon their land and property.

57. By causing noxious odors pollutants and air contaminants produced and
controlled by Defendant to physically invade Plaintiffs' land and property, Defendant
intentionally, recklessly, and negligently created a nuisance which substantially and
unreasonably interfered with Plaintiffs' use and enjoyment of their property.

58. Whatever social utility Defendant’s landfill provides is clearly outweighed by the
harm suffered by the Plaintiffs and the putative class who have on frequent occasions been

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deprived of the full use and enjoyment of their properties and have been forced to endure
substantial loss in the value of their properties

59.' Defendant’s substantial and unreasonable interference with Plaintiffs' use and
enjoyment of their property constitutes a nuisance for which Defendant is liable to Plaintiffs for
all damages arising from such nuisance, including compensatory, exemplary, injunctive and
punitive relief since Defendant’s actions were, and continue to be, intentional, willful, malicious
and made_ with a conscious disregard for the rights of Plaintiffs entitling Plaintiffs to
compensatory and punitive damages

CAUSE OF ACTION III
NEGLIGENCE

55. Plaintiffs restate all allegations of this Complaint as if fully rewritten herein.

56.' On occasions too numerous to mention, Defendant negligently and improperly
constructed, maintained and/or operated the landfill such that it caused the emission of noxious
odors pollutants and air contaminants onto Plaintiffs' homes land and property.

57. As a direct and proximate result of Defendant’s negligence and gross negligence
in constructing, maintaining and/or operating the landfill, Plaintiffs' property, on occasions too
numerous to mention, was invaded by noxious odors pollutants and air contaminants

5 8. As a further direct and proximate result of the foregoing conduct of the
Defendant, Plaintiffs suffered damages to their property as alleged herein.

59. The invasion and subsequent damages suffered by Plaintiffs were reasonably
foreseeable by the Defendant.

60. By failing to properly construct, maintain and/or operate its landfill, Defendant
failed to exercise its duty of ordinary care and diligence so that noxious odors pollutants noise,
dust, debris and air contaminants would not invade Plaintiffs' property.

61.' A properly constructed, operated, and maintained landfill will not emit substantial
odors and/or air pollutants into neighboring residential areas

62. By failing to construct, maintain and/or operate its landfill, Defendant has

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intentionally caused the invasion of Plaintiffs’ property by noxious odors pollutants and air
contaminants

63. Defendant knowingly breached its duty to exercise ordinary care and diligence
when it improperly constructed, maintained and/or operated the landfill and knew, or should
have known upon reasonable inspection that such actions would cause Plaintiffs' property to be
invaded by noxious odors pollutants and air contaminants

64. As a direct and proximate result of the failure of Defendant to exercise ordinary
care, Plaintiffs' residences were invaded by noxious odors pollutants and air contaminants

65 . The conduct of Defendant in knowingly allowing conditions to exist which
caused noxious odors pollutants and air contaminants to physically invade Plaintiffs' property
constitutes gross negligence as it demonstrates a substantial lack of concern for whether an injury
resulted to Plaintiffs

66. Defendant’s gross negligence was malicious and made with a wanton or reckless
disregard for the lives safety or property of Plaintiffs which entitles Plaintiffs to an award of
compensatory, exemplary, and punitive relief.

PRAYER FOR RELIEF

WHEREFORE, Plaintiffs individually and on behalf of the proposed Class pray for
judgment as follows:

A. Certification of the proposed Class pursuant to F ederal Rule of Civil Procedure

23;

B. Designation of Plaintiffs as representative of the proposed Class and designation

of their counsel as Class counsel;

C. Judgment in favor of Plaintiffs and the Class members and against Defendant;

D. Award Plaintiffs and the Class members compensatory and punitive damages and

attorneys’ fees and costs including pre-judgment and post-judgment interest thereupon;

E. , An Order holding that entrance of the aforementioned odors upon Plaintiffs’

property constituted a nuisance;

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F. Temporary, preliminary, and permanent orders for injunctive relief consistent
with Defendant’s permit and regulatory requirements that requires Defendant to cease
emitting odors pollutants and air contaminants such that they no longer invade
Plaintiffs’ property;

G. Such further relief as the Court deems just and proper.

JURY DEMAND

Plaintiffs hereby demand a trial by jury.

Dated: June 21, 2018 KAMENSKY COHEN & RIECHELSON
/L, /cwar/

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CERTIFICATE OF SERVICE

l hereby certify that on June 22, 2018, l electronically filed the foregoing with the Clerk
of the Court using the Cl\/l/ECF system which will send notification of such filing to the e-mail
addresses denoted on the Electronic Mail notice list, and I hereby certify that l have mailed the
foregoing document or paper via the United States Postal Service to the non-CMHECF
participants indicated on the l\/Ianual Notice list.

I certify under penalty of perjury under the laws of the United States of America that the
foregoing is true and correct.

Executed on June 22, 2018

By: /C.»\ /@MA/L/

Kevin S. Riechelson

 

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